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IN THE UNITED STATES DIS'I`RICT COURT
FOR THE EASTERN I)ISTRICT DF PENNSYLVANIA

 

 

)
JACLYN RUGG|ERO, LORRAINE ) “'
RUGGIERO and .IOSEPH RUGGIERO )
) CIVIL ACTION
) NO:
P[aint{`]f$', )
v- )
) COMPLAINT
MORAVIAN COLLEGE, )
Dej%ndam. ) (Jury Trial Demanded)
)
COMPLAINT

Plaintiffs Jaclyn Ruggiero (“Jaciyn” or “Ms. Ruggiero”), Lon'aine Ruggiero (“Lorraine
Ruggiero” or “Mrs. Ruggiero”), and Joseph Ruggiero (“Joseph Ruggiero” or ‘“Mr. Ruggiero”)
bring this civil action under Federal law and the laws of the Comn'ionwealth of Pennsylvania,
seeking compensatory damages against Defendant Morg.vian Coilege (“Moravian” or “The
Co|lege") for offenses arising from, inter alia, Defendant’s (a) breaches of oontract; (b) negligent
misrepresentations; (o) violations of Seetion 504 of the Rehabilitation Act; (d) violations ofTit|e

Il| of the Arnericans with Disabilities Aot; (e) violations of22 Pa. Code Chapter 15

JURISDICTIDN AND VENUE

l. This court has subject matterjurisdiction over the Seotion 504 and Tit|e Ill claims in this
case pursuant to 28 U.S.C. § 1331, as those claims arise under the laws of the United
States. See 29 U.S.C. § 701, et seq. and 20 U.S.C. § 1681, er seq.

2. This Cour‘t also has jurisdiction over the claims in this case arising under Pennsylvania

law pursuant to 23 U.S.C. § l332[a)(l). Ms. Jaolyn Ruggiero is a citizen oi"New Jersey,

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Defendant is an entity based in Pennsylvania, and the amount in controversy exceeds
$75,000, exclusive of interest and costs.

This Court has supplemental jurisdiction over the Penns_vlvania law claims in this case
pursuant to 28 U.S.C. § 1367 because those claims are so related to the claims that are
within this Court's original jurisdiction that they form part of the same case or
controversy.

Venue is proper in this Court pursuant to 28 U.S.C. § 139l(b) because the Det`endant
resides in this District and a substantial part of` the_events or omissions giving rise to the

claims set forth herein occurred within thejurisdiction of this Court.
PARTIES

Plaintif`f` laclyn Ruggiero (“Jaclyn") is a New Jersey resident diagnosed with Attentiorl
Deticient Hyperactivity Disorder (“ADHD”). She resides at 7 Devonshire Road, Cedar
Grove, New Jersey, 07009.

Plaintif`f Lorraine Ruggiero is a New .lersey resident and mother to Jaclyn Ruggiero,
residing at 7 Devonshire Roacl, Cedar Grove, New Jersey, 07009.

Plaintiff.loseph Ruggiero is a New Jersey resident and father to Jaclyn Ruggiero, residing
at 7 Devonshire Road, Cedar Grove, `New jersey, 07009.

Defendant Moravian College (“Moravian” or “the `College”) is a private college with its
main campus and principal place of business located at 1200 Main St, Bethlehem, PA
ISOIS.

At all times material hereto, Def`endant acted by and through its agents, servants,

employees, and/or representatives who were acting in the course and scope of their

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respective agency or employment and/or in the promotion of Defendant‘ business,

mission and/or affairs. .,
FACTUAL BACKGROUND

Jaclyn Ruggiero was a student at Moravian from August 2014 until May 2016.

Prior to attending Moravian, Jaclyn was diagnosed with Attention Dericit Hyperactivity
Disorder.

laclyn was the third child from her family to attend Moravian College. Before and upon
Jaclyn’s matriculation at Moravian, Jaclyn and her parents, Joseph and l_.orraine
Ruggiero, attended many Moravian Open Houses, Accepted Students Day, Top Recruits
Day. and other orientations over a period of more than 10 years.

At each such event, the Ruggieros were repeatedly assured by Moravian’s faculty panel,
as well as the Office of Academic and Disability Support, that Moravian had the
programs and services necessary to support students with disabilities

l\/loravian faculty repeatedly represented that they had excellent academic support
services available to students with disabilities, including “several layers of networks” to
ensure that these students would succeed.

Moravian urged parents to trust them and “back off and not be helicopter parents” once
the students were at Moravian because Moravian was well equipped to support students
with learning disabilities l\fls. Roth and the Of`f`lce of Academic and Disability Support
represented specifically that they *‘had this” and would step in if they saw students
struggling. The College represented that one of the biggest advantages to being a small

school was their increased ability to monitor rise students’ progress lt repeatedly

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represented that it would help each student to succeed by never allowing a student tc fall
through the cracks.

Moravian and its agents specifically assured the Ruggieros that the College would work
with Jaclyn to provide the accommodations she needed to succeed.

Relying on these representations the Ruggieros first sought to notify the College of

Jaclyn’s disability and need for accommodations before classes began.

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Ms. Ruggiero’s Disc|osure ofher Disabilities

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On June 24, 2014, Lorraine Ruggicro emailed Laurie Roth, Director of Academic and
Disability Support. Mrs. Ruggiero informed Ms. Roth that Jaclyn was a student with a
disability. She told Ms. Roth that Jaclyn would need accommodations

In response, ivls. Roth advised Mrs. Ruggiero that Jaclyn would need to submit a
“Disclose a Disability" form and other documents to E|aine Mara, Assistant Director of
Academic Support.

Ms. Roth further advised the Ruggieros that after receiving these documents, lVls. Mara
would contact Jaclyn to meet, and would write accommodation letters for Jaclyn to
submit to her professors Ms. Roth copied Ms. Mara on this email.

These representations were also mirrored by Moravian’s “Disability Disclosure Process”,
available to students and parents through Moravian’s website.

Jaclyn completed the required form that clay and, on .l unc 25, 2014, Mrs. Ruggiero sent
the Disability Disclosure form, a Summary of Performance report, Jaclyn’s most recent
IEP, Jaclyn’s Psychoeducational Report, a full lQ battery, Jaclyn’s Achievement Test,

Jaclyn’s ADHD diagnosis, and a request for all accommodations available to her1

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including a note-taking accommodationg to the emaii address for Ms. Mara that Ms. Roth
had provided

Two weeks went by with no response from Moravian.

When Mrs. Ruggiero sent another entail to verify receipt of the records, she received an
error message.

Mrs. Ruggiero contacted Ms. Roth by email to notify her of the issue. ln reply, Ms. Roth
apologized for the error, and again copied lvls. Mara to ensure that l"»/is. Mara was able to
see the documents and request for accommodations

Jaclyn began her Freshman year having provided Moravian with all of the materials
required to begin the interactive process But Ms. Mara never contacted her to Ineet,
agree on accommodations or create accommod§tion letters for Jaclyn’s professors
Because of this lack ol" communication, Moravian did not provide Jaclyn with any
accommodations in her first semester.

Jaclyn finished the semester with a grade point average of l.08 and was placed on
academic probation for the upcoming semestert

After struggling through her first college semester without accommodations Jaclyn
emailed Ms. Mara again to again request accommodations for the upcoming spring
semester. Ms. Mara responded only to tell Jaclyn she would first need to submit
paperwork disclosing her disability, which Jaclyn had already submitted twice. Jaclyn
submitted it again.

Jaclyn was finally given accommodations in her second semester. l-Ier academic
performance improved -- but she was starting in a deep GPA hole, and under significant

stress to make up ground.

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Failure to Monitor Mental Health

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Jaclyn’s mental health began to deteriorate due to the pressure of raising her grade point
average and facing dismissal. She frequently communicated her struggles to staff at
Moravian and on one specific occasion, Jaclyn had an anxiety attack during a meeting
with Camil|e Murphy, her academic advisor. Staff,at Moravian never contacted Jaclyn’s
parents about her struggles despite having Jaclyn’s permission to do so and the College’s
representations that they would do so.

On January 29, 2015, Jaclyn was hospitalized for panic attacks. The Ruggieros were first
informed of the extent of Jaclyn’s stress when they were notified by the Moravian Health
Center that Jaclyn was being brought by ambulance to the hospita|. The Ruggieros were
not informed sooner. despite Moravian’s repeated assurances throughout the admissions
process that the faculty would monitor and provide services to students suffering from
anxiety or depression

Moravian failed to contact Jaclyn or her parents to follow-up on her condition, or to offer
her support in any way despite being taken by ambulance from the College.

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Jaclyn finished the semester with a 2.5 grade point average for the semester.

Faiiure to Engage in Interactive Process

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Jaclyn decided to attend summer school in the summer of 201 5 to improve her grades. At
the end of the summer term, Jaclyn had earned a 3.0 grade point average. l-Ier cumulative
grade point average rose to a 2.03.

Jaclyn continued to work diligently to raise her grade point average, including seeking

additional accommodations In August 2015, before the start of the Fa|l 2015 semester,

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she visited the Office of Academic and Disability Support with her roommate to re-
initiate the interactive process.

Jaclyn advised Ms. Mara she wanted to set up accommodations for the new semester.
Ms. l'vlara refused to do So. She instead advised Jaclyn to return after the start of the new
semester.

Jaclyn began the semester without revised accommodations, and found herself
overwhelmed. She attempted to contact lVls. Mara on various occasions, but received no
response.

Part of the reason why she received no response is that Ms. Mara had left Moravian, but
l\/loravian failed to notify Jaclyn about this change w

ln fact, no one from the Offtce of Academic and Disability Support contacted Jaclyn
during the Fall 2015 semester to begin the requested interactive process. She finished

that semester with a 0.91 grade point average, lowering her cumulative average to l.71.

First Dismissal

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In January 2016, Jaclyn again contacted the Office of Disability and Academic Support to
request accommodations for the upcoming semester.

Rather than engaging with her, andjust days before students were to return for the Spring
2016 semester, Moravian sent Jaclyn a letter via email formally discontinuing Jaclyn as a
student because her cumulative grade point average had fallen below a 2.0.

In response to this letter, Lorraine Ruggiero called Moravian.

During her phone call with the office of Carol Traupman-Carr, the Dean of Academic

Af`f`airs at Moravian College, Mrs. Ruggiero learned that letters to discontinued students

were meant to be sent out in December at the close of the semester. This had not

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happened because “several people" in the office were “‘out sick,“` and the employees did
not work once winter break started.

Because of this untimely notification. Jaclyn was unable to explore other options for
schooling for the upcoming semester. Her only two“options were to appeal the decision or
forego at least one semester of school.

Jaclyn appealed her dismissal to Dean Carol Traupman-Carr. She reaffirmed her
commitment to her studies at Moravian.

Dean Carr informed Jaclyn that raising her grade point average would likely be “too big a
hill to climb,” and that her graphic design major might not be the best fit for her.
lvloravian accepted no responsibility for Jaclyn’s situation despite having failed to
provide support services as requested

Dean Carr agreed to reinstate Jaclyn on academic probation for the Spring 2016 term

As part of Jaclyn’s reinstatement, Dean Carr sent a list of terms that Jaclyn must meet in
the spring semester. These terms included reaching a cumulative grade point average of
2.0. Moravian still did not initiate the requested interactive process to adjust Jaclyn’s
accommodations

l_lpon her return to Moravian in .lanuary 2016, Jaclyn felt that the school had become a
hostile environment, as Moravian had imposed additional academic requirements upon
her while stating that they did not believe she was capable of succeeding

Jaclyn nonetheless tried to meet the requirements imposed on her to the best of her ability
by attending tutoring sessions, academic support and meeting with her advisor.

After struggling for another semester, Jaclyn earned a grade point average of 0.91. This

brought her cumulative average to 1.53.

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Second Dismissal

52. In May 2016, Dean Carr again sent a letter, via email to Jaclyn and via regular mail to her

parents, discontinuing Jaclyn as a student at Moravian because her GPA was below 2.0.

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The May letter explained that Jaclyn may apply for reconsideration. lt did not offer her

the chance to attend summer programs to bring up her GPA. And, to further indicate that

its decision was final_. Moravian shut down Jaclyn’s Moravian lD, access to Moravian
computer programs, and access to Moravian student websites.

54. Jaclyn felt intimidated, rejected and misunderstood‘- especially by the sentiments Dean
Carr expressed without regard for the effects of Moravian’s repeated refusals both tacit
and express, to accommodate Jaclyn’s disabilities or to even support her in achieving the
challenges they had set for her.

55. A|though it was Jaclyn’s dream to graduate from Moravian College, she felt it had

become a hostile environment and it was futile to apply for reconsideration She

matriculated at a different college for the Fall 2016 term.

Misrepresentations Concerning Computer Ownership

56. Six months went by. Then, on November 22, 2016, when Jaclyn was in the middle of
class at her new college and preparing for final exams, Moravian remotely disabled
Jaclyn’s computer equipment, which she had acquifed while at Moravian.

57. The Ruggieros received an invoice for the computer equipment three days after the
equipment was shut off (the day after Thanksgiving) and immediately tried to contact
Moravian.

58. Since it was the week of Thanksgiving break, however, the administrative offices at

Moravian were closed.

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The Ruggieros were unable to contact anyone until the following week, and Jaclyn was
unable to work on a large project that required a special program she had independently
paid for and installed on her computer.

When Mrs. Ruggiero contacted Moravian following Thanksgiving break, the Bursar’s
office informed her that Jaclyn had failed to return or pay for the computer equipment
Before this incident, however, Moravian had made no effort to contact Jaclyn about the
computer equipment. She was never sent a bill. The Ruggieros had never been sent a bill
prior to the equipment being disabled.

She was never warned that her computer would be disabled if she did not pay a bill. In
fact, the Ruggieros were under the impression that Jaclyn had paid for the computer
through the technology fees she had paid with her tuition.

Moravian advised Mrs. Ruggiero that the computer equipment had not yet been paid for
in full. The College explained that full payment-dwas spread out over four years, and
provided a copy of a contract that Jaclyn had signed on May 20, 2014, while a senior in
high school.

Despite repeated requests to reactivate the computer equipment while the payment issue
was resolved, Moravian refused to reactivate the computer equipment, causing Jaclyn
additional distress and hardship.

The Ruggieros immediately paid the balance due on the equipment in December 2016.
lVloravian reactivated the computer equipment only alter the invoice was paid.

Whereas the January 2016 discontinuance letter advised Jaclyn that she needed to return
the computer equipment or it would be considered a theft, the May discontinuance letter

did not request the return of the equipment

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Moravian never requested the return of the equipment or payment for the equipment prior
to disabling it.

Whi|e communicating with Moravian to attempt to resolve the equipment issue, the
Ruggieros received an email from Dean Traupman-Carr containing the previous
dismissal letters sent to Jaclyn. The email included a letter that was purportedly sent to
Jaclyn and her parents in August of 20 1 6 (“The Au gust 2016 letter”).

Neither Jaclyn nor her parents had ever seen the August 2016 letter prior to this email. In
fact, Mr. and Mrs. Ruggiero had been removed from the “carbon copy” list on the August
lettcr, despite having been copied on the January and May dismissal letters.

The August 2016 letter stated that Jaclyn had been sent a discontinuance notice in May
2016. This was true, and the Ruggieros had received a copy of that letter.

The August 2016 letter also stated that Jaclyn was given the option to apply for
reconsideration This was also true.

The August 2016 letter further stated that the May discontinuance letter gave Jaclyn the
option to attend summer school to improve her grade point average, and that because
Jaclyn did not apply for reconsideration and did not attend summer school, her dismissal
would be effectuated 2
in fact, the May discontinuance letter did not include an option to attend summer school.
Jaclyn would have certainly utilized the option of summer school as she had the previous
year.

Although Jaclyn is now attending a different college, her experience at Moravian has
been scarring She incurred more than $80,000 cf student loan debt te attend Moravian,

her dream school and her siblings’ alma mater. The stress and strain of struggling not

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only without proper accommodations, but to even get Moravian to work with her on
accommodations caused her such significant stress that she was hospitalized
Furthermore, as a result ot` Moravian’s multiple l"ailures to ccmmunicate, Jaclyn’s college
career has been needlessly prolonged Jaclyn was unable to transfer any credits to her
new college that were unique to (and required by) Moravian. or in which she had
received below a C+. She has thus been deprived ot` the significant amount ot` time, work,
and money that she put into those courses. She has suffered the loss of her confidence
and emotional well-being

ln supporting Jaclyn as she attended schoo|, Mr. and Mrs. Ruggiero have spent more than
$10,000_. including the cost ot` summer school tuition, books, equipment and fees. They
are both included as co-signors on Jaclyn’s student`loans, and are secondarily responsible
for Jaclyn’s loan payments Due to Moravian’s dismissal of Jaclyn, Mrs. and Mrs.

Ruggiero have lost the value of their investment in Jaclyn‘s education.

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CLAlMS FOR RELIEF

COUNT I: BREACH OF CDNTRACT BETWEEN JACLYN RUGGIERO AND
MORAVIAN COLLEGE F DISCLOSURE OF DISABIL]TY PROCESS

77. Plaintit`fs hereby incorporate each and every allegation in the preceding paragraphs of this
Compiaint as if set forth in full herein. w

78. At all relevant times, Jaclyn and Defendant were operating under a contract

79. The contract between Moravian and Jaclyn consisted of, inter alia the written guidelines,
policies and procedures as contained in the written materials distributed to Jaclyn over
the course of her enrollment at Moravian, as well as the brochures, email correspondence
between the Ruggieros and l\/loravian officials, and other official statements1 policies and
publications of the institution.

80. Jaclyn paid valuable consideration in the form of more than $80,000 in tuition, expenses
and fees to attend Moravian and receive services as a student with a disability.

814 Moravian breached its contract with Jaclyn by failing to follow the procedures it put in
place to ensure that students with disabilities received accommodations

82. Moravian breached the covenant of good faith and fair dealing, implied in all contracts
formed in Pennsylvania, by failing to follow the procedures it put in place to ensure that
students with disabilities received accommodationsl

WHEREFORE, based on the foregoing facts and claims, Plaintiffs respectfully request

Judgment in their favor and against Defendant and prays the Court grant, as appropriate,

compensatory damages in an amount in excess of $75,000 to be determined at time of tria|, costs

and attorneys' fees, and any and all other relief deemedjust and equitable by this Court.

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COUNT II - BREACH OF CONTRACT BETWEEN LORRAINE RUGGIERO AND

MDRAVIAN COLLEGE ~ DISCLOSURE DF DISABILITY PROCESS

Plaintiffs hereby incorporate each and every allegation in the preceding paragraphs of this
Complaint as if set forth in full herein.

At all relevant times, Jaclyn and Defendant were operating under a contract.

The contract between Moravian and Jaclyn consisted of, inter oiia, the written guidelines
policies and procedures as contained in the written materials distributed to Jaclyn over
the course of her enrollment at Moravian, as well as the brochures, email correspondence
between the Ruggieros and Moravian officials, and other official statements policies and
publications of the institution. ~

Mrs. Lorraine Ruggiero tendered direct payment to Moravian Co|lege for Jaclyn’s
summer tuition, summer room and board, books, and fees associated with Jaclyn’s
graphic design major, totaling at least $10,000 in payment to Moravian pursuant to the
contract between Jaclyn and Moravian.

Mrs. Lorraine Ruggiero was included as a co-signor on Jaclyn’s student loans, and is
secondarin responsible for Jaclyn's loan payments

Moravian breached its contract with Jaclyn by failing to follow the procedures it put in
place to ensure that students with disabilities received accommodations

Moravian breached the covenant of good faith and fair dealing, implied in all contracts
formed in Pennsylvania, by failing to follow the procedures it put in place to ensure that

students with disabilities received accommodations

WHEREFORE, based on the foregoing facts and claims, Plaintiffs respectfully request

.|udgment in her favor and against Defendant and prays the Court grant, as appropriate,

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Compensatory damages in an amount in excess of $751000 to be determined at time of trial, costs
and attorneysl fees and any and all other relief deemedjust and equitable by this Court.

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COUNT III ~ BREACH OF CONTRACT BETWEEN JOSEPH RUGGIERO AND
MORAVIAN COLLEGE - DISCLOSURE OF DISABIL[TY PROCESS

90. Plaintiffs hereby incorporate each and every allegation in the preceding paragraphs of this
Cornp|aint as if set forth in full herein.

91. At all relevant times, Jaclyn and Defendant were operating under a contract.

92. The contract between Moravian and Jaclyn consisted of. inter alia, the written guidelines
policies and procedures as contained in the written materials distributed to Jaclyn over
the course of her enrollment at Moravian, as well as the brochures, email correspondence
between the Ruggieros and Moravian officials, and other official statements policies and
publications of the institution.

93. Mr. .loseph Ruggiero tendered direct payment to Moravian Coliege for Jaclyn’s summer
tuition, summer room and board, books and fees associated with Jaclyn’s graphic design
major, totaling at least $10,000 in payment to Moravian pursuant to the contract between
Jaclyn and Moravian.

94. Mr. Joseph Ruggiero was included as a co-signor on Jaclyn’s student loans, and is
secondarily responsible for Jaclyn*s loan payments

95. Moravian breached its contract with Jaclyn by failing to follow the procedures it put in
place to ensure that students with disabilities received accommodations

96. Moravian breached the covenant of good faith and fair dealing, implied in all contracts
formed in Pennsy|vania, by failing to follow the procedures it put in place to ensure that

students with disabilities received accommodations

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WHEREFORE, based on the foregoing facts and claims, Plaintiffs respectfully request

judgment in her favor and against Defendant and prays the Court grant, as appropriate,

compensatory damages in an amount in excess of $75,000 to be determined at time oftrial, costs

and attorneys' fees, and any and all other relief deemedjust and equitable by this Cout't.

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CUUNT IV - NEGLIGENT MISREPRESENTATIONS
Plaintiffs hereby incorporate each and every allegation in the preceding paragraphs of this

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Complaint as if set forth in full herein.

Under Pennsylvania law, the elements of negligent misrepresentation are: (l) a
misrepresentation cfa material fact; (2) made under circumstances in which the speaker
ought to have known its falsity; (3) with an intent to induce another to act on it; and; (4)
Which results in injury to a party acting in justifiable reliance on the misrepresentation
.S'ac Bcrtz v. Neon, 729 A.Zd 555, 561 (Pa. 1999); Gilmonr v. Bohmuciler, 2005 U.S.

Dist. LEXIS 1611, *9 (E.D. Pa. .lan. 27. 2005).

Moravian represented to Jaclyn, inter alin, that her needs would be fully accommodated

if she self-identified provided documents and sought an accommodation

The representations Moravian made about its ability to accommodate Jaclyn’s needs were

materially false
Moravian made those representations with the intent to induce Jaclyn to attend Moravian.

On information and belief, Moravian and its agents knew or should have known that it

was utilizing an email server that was defective

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On information and belief, Moravian and its agents knew or should have known that
students working with Ms. Mara would need to be specifically notified that she had left

the College.

On information and belief, Moravian and its agents knew or should have known that it
had dismissed Jaclyn from the College without offering Jaclyn the opportunity to take

summer school courses.

Jaclyn justifiably relied on l’vloravian’s misrepresentation concerning its ability to engage

in the interactive process1 initially and throughout Jaclyn’s education.

WHEREFORE, based on the foregoing facts and claims, Plaintiffs respectfully request

Judgment in their favor and against Defendant and prays the Court grant, as appropriate

compensatory damages in an amount in excess of$?S,OOO to be determined at time of tria|, costs

and attorneys' fees, and any and all other relief deemedjust and equitable by this Court.

COUNT V - 504 OF THE REHABILITIATION ACT OF 1973 - FAILURE TO ENGAGE

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IN INTER.ACTIVE PROCESS AND FAILURE PROVIDE REASONABLE
ACCOMMODATIONS

Plaintiffs hereby incorporate each and every allegation in the preceding paragraphs of this
Complaint as ifset forth in full herein.

Moravian is subject to Section 504 because it is a recipient of federal funding

Jaclyn is an individual who suffers from ADHD, a mental impairment that substantially
limits several major life activities, including but not limited to organization of daily tasks,
focus and attention

At all relevant times, Jaclyn was a qualified handicapped person with respect to education

services because she was able to attend school and participate in educational programs

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l 10. Plaintiffs assert that lvloravian discriminated against her on the basis of her disability by
denying her an equal opportunity to participate in academic services and activities

ll l. Section 504’s mandate to provide equal opportunity participation in non-academic and
extracurricular services and activities is part of its broader prohibition against
discriminatiou, Which provides that ““[n]o qualified handicapped person shall, on the basis
of a handicap, be excluded from participation in, be denied the benefits of, or otherwise
be subjected to discrimination under any program or activity which receives federal
financial assistance.” 34 C.F.R. § 104.4.

l l2. Plaintiffs assert that from August 2014 until May 2016, the College discriminated against
Jaclyn in violation of Section 504 by failing to engage in the interactive process initially
after Jaclyn had identified herself as a student with a disability1 failing to engage in the
interactive process throughout Jaclyn’s education by failing to communicate the terms of
her dismissal, and failing to provide Jaclyn with a reasonable accommodation by
dismissing her without the opportunity for taking summer school classes.

|13. As a direct result of Moravian‘s discrimination against Jaclyn, she suffered severe
emotional distress. She experienced anxiety attacks while in the presence of Moravian
staff, and was hospitalized for panic attacks She was ultimately dismissed from the
College without being given the chance to go to summer school, and suffered a loss in
tuition and in the benefit of her education.

WI-IEREFORE, based on the foregoing facts and claims, Plaintiffs respectfully request

Judgment in their favor and against Defendant and prays the Court grant, as appropriate,

compensatory damages in an amount in excess of $75,000 to be determined at time of trial, costs

and attorneys' fees, and any and all other relief deemedjust and equitable by this Court.

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COUNT VI - TITLE III OF THE AMERICANS WITH DISABILITIES ACT --
FAILURE TO ENGAGE [N INTERACTIVE PROCESS AND FAILURE
PROV`IDE REASDNABLE ACCOMMODATIONS

l 14. Plaintiffs hereby incorporate each and every allegation in the preceding paragraphs of this
Cornplaint as if set forth in full herein.

l 15. At all relevant times, Jaclyn has suffered and continues to suffer from ADl-ID.

l 16. As a result, Jaclyn is, and at all relevant times was, a person with a disability entitled to
protections of the Amcricans with Disabilities Act {“ADA”).

l 17. At all relevant times, lvloravian was and is subject to the requirements of the ADA with
respect to Ms. Ruggiero.

|18. Moravian is subject to Title lll of the ADA because it is a “private entity that offers
examinations or courses related to ai:it'ilicationss licensing, certification, or credentia|ing
for secondary or postsecondary education, professional, or trade purposes.“ See 28 C.F.R.
§ 36.309(a).

119. lvloravian is also a “place of public accommodation” under the ADA because it is an
“undergraduate, or postgraduate private school, or other place of education." 42 U.S.C.
l2llil(7)(.l).

120. Plaintiffs assert that fi'om August 2014 until May 2016, the College discriminated against
Jaclyn in violation of the Americans with Disabilities Act by failing to engage in the
interactive process initially after Jaclyn had identified herself as a student with a
disability, failing to engage in the interactive process throughout Jaclyn’s education by
failing to communicate the terms of her dismissal, and failing to provide Jaclyn with a
reasonable accommodation by dismissing her without the opportunity for taking summer

school classes

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WHEREFORE, based on the foregoing facts and claims, Plaintiffs respectfully request

Judginent in their favor and against Defendant and prays the Court grant, as appropriate,

compensatory damages in an amount in excess of $75,000 to be determined at time of trial, costs

and attorneys' fees, and any and all other relief deemed just,and equitable by this Court.

Dated: 23 March 2018

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Respectfully Submitted,

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Frankel & Kershenbaurn

1230 County Line Road

Bryn Mawr, PA 19010

T: (610) 922-4200

F: (6 l 0) 646-0888
Mislw_¢l@MvMi/a@
Counseljor Jaclyn, Lorroi'ne,

and Jo.s'eph Ruggi`ero

